   Case 14-06245-jw        Doc 65     Filed 02/27/20 Entered 02/27/20 08:55:56             Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA

IN RE:                                                             CHAPTER 13
JENNIFER SHUNNARAH STAHLER
MURRAY BRANSON STAHLER                                             CASE NO.: 14-06245-jw
6083 PANTHERWOOD DR
MYRTLE BEACH, SC 29579-3403

                            DEBTORS

SS#1: XXX-XX-1038 SS#2: XXX-XX-7143

                             TRUSTEE'S NOTICE OF UNCLAIMED DIVIDENDS

Enclosed from the office of Pamela Simmons-Beasley, Trustee for the above referenced case is Check No. 1082380 in
the amount of $62.02 representing monies designated as dividends to creditors as follows:

CREDITOR NAME:             Carlos Scheer
                           4717 Bluewater Lane
                           Myrtle Beach, SC 29579
REASON FOR RETURN:         Failure to Clear
AMOUNT:                    $62.02
                                                                   /s/ Pamela Simmons-Beasley, Chapter 13 Trustee
Date: February 27, 2020                                            250 Berryhill Road, Suite 402
                                                                   Columbia, SC 29210
                                                                   Phone: (803) 779-5180
                                                                   Fax: (803) 765-0167
                                                                   E-mail: pleadings@ch13trustee.net
